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                                                                                            FILED
                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MISSOURI                               MAY -9 2019
                                    EASTERN DIVISION
                                                                                       U. S. DISTRICT COURT
                                                                                     EASTERN DISTRICT OF MO
UNITED STATES OF AMERICA,                         )                                          ST.LOUIS
                                                  )
                Plaintiff,                        )
                                                  )
V.                                                )

RONNIE GOLDEN,
                                                  )
                                                  )
                                                        4:19CR358 HEA/JMB
                                                  )
                Defendant.                        )


                                           INDICTMENT

                                           COUNT ONE

The GrandJury charges that:

       On or about, March 20, 2019, in the City of St. Louis, within the Eastern District of Missouri,

                                        RONNIE GOLDEN,

having been convicted previously of crimes punishable by a term of imprisonment exceeding one

year under the laws of the State of Missouri, did knowingly possess a firearm which had previously

traveled in interstate or foreign commerce.

       In violation of Title 18, United States Code, Section 922(g)(l).

                                                  A TRUE BILL.


                                                  FOREPERSON



JEFFREY B. JENSEN
United States Attorney


THOMAS J. MEHAN, #28958MO
Assistant United States Attorney
